 Case 1:12-cr-00078-LMM-RGV Document 393 Filed 11/22/16 Page 1 of 1
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                         IN THE UNITED STATES DISTRICT COM'T                        Mfiy   0 0 MM
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION       1^                                          _


NEMIAS CINTORA-GONZALEZ,
       Movant                                          CRIMINAL ACTION FILE NO.
                                                       1:12-CR-07 8-1-ODE-RGV
V.
                                                       CIVIL ACTION FILE NO.
UNITED STATES OF AMERICA,                              1:16-CV-3219-ODE-RGV

       Respondent

                                                 ORDER
       T h i s c r i m i n a l case i s b e f o r e t h e Court on the F i n a l Report and
Recommendation o f U n i t e d S t a t e s M a g i s t r a t e Judge R u s s e l l G. V i n e y a r d
f i l e d September 30, 2016 ("R&R") [Doc. 391] . No o b j e c t i o n s have been
filed.
        In   t h e R&R, Judge V i n e y a r d         recommends        that    Movant's § 2255
m o t i o n be d i s m i s s e d and t h a t a c e r t i f i c a t e o f a p p e a l a b i l i t y ("COA")
be denied.         S p e c i f i c a l l y , Judge V i n e y a r d found t h a t t h i s 28 U.S.C.
§ 2255 m o t i o n i s i m p e r m i s s i b l y successive and should be d i s m i s s e d
pursuant t o Rule 4 (b) o f t h e Rules Governing S e c t i o n 2255 Proceedings
("Rule 4 ( b ) " ) .    I n a d d i t i o n , a COA s h o u l d be denied because i t i s n o t
debatable t h a t t h e § 2255 motion i s i m p e r m i s s i b l y successive.
       The Court having read and c o n s i d e r e d t h e R&R and n o t i n g t h e
absence o f any o b j e c t i o n s , i t i s hereby ADOPTED as t h e o p i n i o n and
o r d e r o f t h e Court.       For t h e reasons s e t f o r t h i n t h e R&R, Movant's
§ 2255 m o t i o n     [Doc. 390] i s DISMISSED p u r s u a n t t o Rule 4 ( b ) , and a
COA i s DENIED.
        SO ORDERED, t h i s         ^1      day o f November, 2016.

                                  ~                 fL oJ
                                               ORINDA D. EVANS
                                               UNITED STATES DISTRICT JUDGE
